Case 2:10-md-02179-CJB-DPC Document 6430-35 Filed 05/03/12 Page 1 of 11




                       EXHIBIT 17
  Case 2:10-md-02179-CJB-DPC Document 6430-35 Filed 05/03/12 Page 2 of 11




                                    Oil & Gas Industry Exclusions
Business Entities within the NAICS Code descriptions set forth below are excluded from the class.
Natural Persons employed by a Business Entity within the NAICS Code descriptions set forth below are
excluded to the extent and in the manner set forth in the Excluded Industries Chart (Bates Nos. 026686 ‐
026693]

The Claims Administrator shall determine the appropriate NAICS code for a Business Entity based on his
review of (a) the NAICS code shown on a Business Entity claimant’s 2010 tax return, (b) 2010 business
permits or license(s), and/or (c) other evidence of the business’s activities necessary for the Claims
Administrator to determine the appropriate NAICS code.

 211111 ‐ Crude Petroleum and Natural Gas Extraction
         This U.S. industry comprises establishments primarily engaged in (1) the exploration, development
         and/or the production of petroleum or natural gas from wells in which the hydrocarbons will
         initially flow or can be produced using normal pumping techniques or (2) the production of crude
         petroleum from surface shales or tar sands or from reservoirs in which the hydrocarbons are
         semisolids. Establishments in this industry operate oil and gas wells on their own account or for
         others on a contract or fee basis.
                     Coal gasification at mine site
                     Coal liquefaction at mine site
                     Coal pyrolysis
                     Crude petroleum from oil sand
                     Crude petroleum from oil shale
                     Crude petroleum production
                     Gas, natural, extraction
                     Kerogen processing
                     Lease condensate production
                     Natural gas production
                     Natural gas, offshore production
                     Offshore crude petroleum production
                     Offshore natural gas production
                     Oil and gas field development for own account
                     Oil and gas field exploration for own account
                     Oil shale mining and/or beneficiating
                     Petroleum, crude, production (i.e., extraction)
                     Shale, oil, mining and/or beneficiating
                     Stripper well production
                     Tar sands mining
 211112 ‐ Natural Gas Liquid Extraction
         This U.S. industry comprises establishments primarily engaged in the recovery of liquid
         hydrocarbons from oil and gas field gases. Establishments primarily engaged in sulfur recovery
         from natural gas are included in this industry.
                     Butane, natural, mining
                     Casing‐head butane and propane production
                     Condensate, cycle, natural gas production
                     Cycle condensate production
                     Ethane recovered from oil and gas field gases
                     Fractionating natural gas liquids




                                                                                                             026694
 Case 2:10-md-02179-CJB-DPC Document 6430-35 Filed 05/03/12 Page 3 of 11



                     Gas, natural liquefied petroleum, extraction
                     Gas, natural, liquids, extraction
                     Gas, residue, extraction
                     Gases, petroleum, liquefied, extraction
                     Gasoline, natural, production
                     Isobutane recovered from oil and gas field gases
                     Isopentane recovered from oil and gas field gases
                     Liquefied petroleum gases (LPG), natural
                     Liquid hydrocarbons recovered from oil and gas field gases
                     Liquids, natural gas (e.g., ethane, isobutane, natural gasoline, propane) recovered from
                     oil and gas field gases
                     Natural gas liquids (e.g., ethane, isobutane, natural gasoline, propane) recovered from
                     oil and gas field gases
                     Natural gasoline recovered from oil and gas field gases
                     Oil line drip, natural gas liquid
                     Petroleum gases, liquefied, recovering from oil and gas field gases
                     Propane recovered from oil and gas field gases
                     Residue gas production
                     Sulfur recovered from natural gas
213111 ‐ Drilling Oil and Gas Wells
        This U.S. industry comprises establishments primarily engaged in drilling oil and gas wells for
        others on a contract or fee basis. This industry includes contractors that specialize in spudding in,
        drilling in, redrilling, and directional drilling.
                     Directional drilling of oil and gas wells on a contract basis
                     Drilling directional oil and gas field wells on a contract basis
                     Drilling for gas on a contract basis
                     Drilling for oil on a contract basis
                     Drilling gas and oil field wells on a contract basis
                     Drilling oil and gas field service wells on a contract basis
                     Drilling water intake wells, oil and gas field on a contract basis
                     Gas well drilling on a contract basis

                     Oil and gas well drilling services (redrilling, spudding, tailing) on a contract basis
                     Oil well drilling on a contract basis
                     Reconditioning oil and gas field wells on a contract basis
                     Reworking oil and gas wells on a contract basis
                     Service well drilling on a contract basis
                     Spudding in oil and gas wells on a contract basis
                     Tailing in oil and gas field wells on a contract basis
                     Water intake well drilling, oil and gas field on a contract basis
                     Well drilling (i.e., oil, gas, water intake wells) on a contract basis
                     Workover of oil and gas wells on a contract basis
213112 ‐ Support Activities for Oil and Gas Operations
        This U.S. industry comprises establishments primarily engaged in performing support activities on
        a contract or fee basis for oil and gas operations (except site preparation and related construction
        activities). Services included are exploration (except geophysical surveying and mapping);
        excavating slush pits and cellars, well surveying; running, cutting, and pulling casings, tubes, and
        rods; cementing wells, shooting wells; perforating well casings; acidizing and chemically treating
        wells; and cleaning out, bailing, and swabbing wells.




                                                                                                                026695
Case 2:10-md-02179-CJB-DPC Document 6430-35 Filed 05/03/12 Page 4 of 11



           Acidizing oil and gas field wells on a contract basis
           Building oil and gas well foundations on a contract basis
           Building, erecting, repairing, and dismantling oil and gas field rigs and derricks on a
           contract basis
           Cementing oil and gas well casings on a contract basis
           Chemically treating oil and gas wells (e.g., acidizing, bailing, swabbing) on a contract
           basis
           Cleaning oil and gas field lease tanks on a contract basis

           Cleaning out (e.g., bailing out, steam cleaning, swabbing) wells on a contract basis
           Cleaning wells on a contract basis

           Cleaning, repairing, and dismantling oil and gas field lease tanks on a contract basis
           Contract services (except site preparation and related construction contractor activities)
           for oil and gas fields
           Core cutting in oil and gas wells, on a contract basis
           Core drilling, exploration services, oil and gas field
           Cutting cores in oil and gas wells on a contract basis

           Derrick building, repairing, and dismantling at oil and gas fields on a contract basis
           Dismantling of oil well rigs on a contract basis
           Drilling rat holes and mouse holes at oil and gas fields on a contract basis
           Drilling shot holes at oil and gas fields on a contract basis
           Drilling site preparation at oil and gas fields on a contract basis
           Drill‐stem testing in oil, gas, dry, and service well drilling on a contract basis

           Excavating mud pits, slush pits, and cellars at oil and gas fields on a contract basis
           Exploration services for oil and gas (except geophysical surveying and mapping) on a
           contract basis
           Fishing for tools at oil and gas fields on a contract basis
           Gas well rig building, repairing, and dismantling on a contract basis
           Gas, compressing natural, in the field on a contract basis
           Geological exploration (except surveying) for oil and gas on a contract basis

           Geophysical exploration (except surveying) for oil and gas on a contract basis
           Hard banding oil and gas field service on a contract basis
           Hot oil treating of oil field tanks on a contract basis
           Hot shot service on a contract basis
           Hydraulic fracturing wells on a contract basis
           Impounding and storing salt water in connection with petroleum production
           Installing production equipment at the oil or gas field on a contract basis
           Lease tank cleaning and repairing on a contract basis
           Logging wells on a contract basis
           Mouse hole and rat hole drilling at oil and gas fields on a contract basis
           Mud service for oil field drilling on a contract basis
           Oil and gas field services (except contract drilling, site preparation and related
           construction contractor activities) on a contract basis
           Oil field exploration (except surveying) on a contract basis
           Oil sampling services on a contract basis
           Oil well logging on a contract basis




                                                                                                        026696
 Case 2:10-md-02179-CJB-DPC Document 6430-35 Filed 05/03/12 Page 5 of 11



                   Oil well rig building, repairing, and dismantling, on a contract basis
                   Paraffin services, oil and gas field, on a contract basis
                   Perforating oil and gas well casings on a contract basis
                   Pipe testing services, oil and gas field, on a contract basis
                   Plugging and abandoning wells on a contract basis
                   Preparation of oil and gas field drilling sites (except site preparation and related
                   construction contractor activities) on a contract basis
                   Pulling oil and gas field casings, tubes, or rods on a contract basis
                   Pumping oil and gas wells on a contract basis
                   Rathole and mousehole drilling at oil and gas fields on a contract basis

                   Removal of condensate gasoline from field gathering lines on a contract basis
                   Rig skidding, oil and gas field, on a contract basis
                   Roustabout mining services, on a contract basis
                   Salt water disposal systems, oil and gas field, on a contract basis
                   Sand blasting pipelines on lease, oil and gas field on a contract basis

                   Seismograph exploration (except surveying) for oil and gas on a contract basis
                   Servicing oil and gas wells on a contract basis
                   Shot hole drilling, oil and gas field, on a contract basis
                   Skidding of rigs, oil and gas field, on a contract basis
                   Slush pits and cellars, excavation of, on a contract basis
                   Steam cleaning oil and gas wells on a contract basis
                   Stratigraphic drilling, oil and gas field exploration on a contract basis
                   Surveying (except seismographic) oil or gas wells on a contract basis
                   Swabbing oil or gas wells on a contract basis

                   Well casing running, cutting and pulling, oil and gas field on a contract basis
                   Well logging, oil and gas field, on a contract basis
                   Well plugging, oil and gas field, on a contract basis
                   Well pumping, oil and gas field, on a contract basis
                   Well servicing, oil and gas field, on a contract basis
                   Well surveying, oil and gas field, on a contract basis
                   Wireline services, oil and gas field, on a contract basis
221210 ‐ Natural Gas Distribution
        This industry comprises: (1) establishments primarily engaged in operating gas distribution
        systems (e.g., mains, meters); (2) establishments known as gas marketers that buy gas from the
        well and sell it to a distribution system; (3) establishments known as gas brokers or agents that
        arrange the sale of gas over gas distribution systems operated by others; and (4) establishments
        primarily engaged in transmitting and distributing gas to final consumers.

                   Blue gas, carbureted, production and distribution
                   Coke oven gas, production and distribution
                   Distribution of manufactured gas
                   Distribution of natural gas
                   Gas, manufactured, production and distribution
                   Gas, mixed natural and manufactured, production and distribution
                   Gas, natural, distribution
                   Liquefied petroleum gas (LPG) distribution through mains
                   Manufactured gas production and distribution




                                                                                                            026697
 Case 2:10-md-02179-CJB-DPC Document 6430-35 Filed 05/03/12 Page 6 of 11



                     Natural gas brokers
                     Natural gas distribution systems
                     Natural gas marketers
237120 ‐ Oil and Gas Pipeline and Related Structures Construction
        This industry comprises establishments primarily engaged in the construction of oil and gas lines,
        mains, refineries, and storage tanks. The work performed may include new work, reconstruction,
         rehabilitation, and repairs. Specialty trade contractors are included in this group if they are
        engaged in activities primarily related to oil and gas pipeline and related structures construction.
        All structures (including buildings) that are integral parts of oil and gas networks (e.g., storage
        tanks, pumping stations, and refineries) are included in this industry.



                    Compressor, metering and pumping station, gas and oil pipeline, construction
                    Construction management, oil and gas pipeline
                    Construction management, oil refinery and petrochemical complex
                    Corrosion protection, underground pipeline and oil storage tank
                    Distribution line, gas and oil, construction
                    Gas main construction
                    Gathering line, gas and oil field, construction
                    Natural gas pipeline construction
                    Natural gas processing plant construction
                    Oil and gas field distribution line construction
                    Oil pipeline construction
                    Oil refinery construction
                    Petrochemical plant construction
                    Petroleum refinery construction
                    Pipe lining (except thermal insulating) contractors
                    Pipeline construction on oil and gas field gathering lines to point of distribution on a
                    contract basis
                    Pipeline rehabilitation contractors
                    Pipeline wrapping contractors
                    Pipeline, gas and oil, construction
                    Pumping station, gas and oil transmission, construction
                    Refinery, petroleum, construction
                    Service line, gas and oil, construction
                    Storage tank, natural gas or oil, tank farm or field, construction
324110 ‐ Petroleum Refineries
        This industry comprises establishments primarily engaged in refining crude petroleum into refined
        petroleum. Petroleum refining involves one or more of the following activities: (1) fractionation;
        (2) straight distillation of crude oil; and (3) cracking.
                    Acid oils made in petroleum refineries
                    Aliphatic chemicals (i.e., acyclic) made in petroleum refineries
                    Alkylates made in petroleum refineries
                    Asphalt and asphaltic materials made in petroleum refineries
                    Asphalt paving mixtures made in petroleum refineries
                    Aviation fuels manufacturing
                    Benzene made in petroleum refineries
                    Butylene (i.e., butene) made in petroleum refineries
                    Coke, petroleum, made in petroleum refineries
                    Crude oil refining




                                                                                                               026698
 Case 2:10-md-02179-CJB-DPC Document 6430-35 Filed 05/03/12 Page 7 of 11



                    Crude petroleum refineries
                    Cumene made in petroleum refineries
                    Cyclic aromatic hydrocarbons made in petroleum refineries
                    Diesel fuels made in petroleum refineries
                    Ethylene made in petroleum refineries
                    Fuel oils manufacturing
                    Fuels, jet, manufacturing
                    Gasoline made in petroleum refineries
                    Heating oils made in petroleum refineries
                    Hydraulic fluids made in petroleum refineries
                    Jet fuels manufacturing
                    Kerosene manufacturing
                    Liquefied petroleum gas (LPG) made in refineries
                    Lubricating oils and greases made in petroleum refineries
                    Naphtha made in petroleum refineries
                    Naphthenic acids made in petroleum refineries
                    Oil (i.e., petroleum) refineries
                    Oil additives made in petroleum refineries
                    Oils, fuel, manufacturing
                    Paraffin waxes made in petroleum refineries
                    Petrochemical feedstocks made in petroleum refineries
                    Petrochemicals made in petroleum refineries
                    Petroleum coke made in petroleum refineries
                    Petroleum cracking and reforming
                    Petroleum distillation
                    Petroleum jelly made in petroleum refineries
                    Petroleum lubricating oils made in petroleum refineries
                    Petroleum refineries
                    Propane gases made in petroleum refineries
                    Propylene (i.e., propene) made in petroleum refineries
                    Refineries, petroleum
                    Refinery gases made in petroleum refineries
                    Road oils made in petroleum refineries
                    Solvents made in petroleum refineries
                    Still gases made in petroleum refineries
                    Styrene made in petroleum refineries
                    Tar made in petroleum refineries
                    Toluene made in petroleum refineries
                    Waxes, petroleum, made in petroleum refineries
                    Xylene made in petroleum refineries
324191 ‐ Petroleum Lubricating Oil and Grease Manufacturing
        This U.S. industry comprises establishments primarily engaged in blending or compounding refined
        petroleum to make lubricating oils and greases and/or re‐refining used petroleum lubricating oils.

                   Brake fluids, petroleum, made from refined petroleum
                   Cutting oils made from refined petroleum
                   Greases, petroleum lubricating, made from refined petroleum
                   Grinding oils, petroleum, made from refined petroleum
                   Hydraulic fluids, petroleum, made from refined petroleum
                   Lubricating oils and greases, petroleum, made from refined petroleum




                                                                                                             026699
 Case 2:10-md-02179-CJB-DPC Document 6430-35 Filed 05/03/12 Page 8 of 11



                    Motor oils, petroleum, made from refined petroleum
                    Oils, lubricating petroleum, made from refined petroleum
                    Oils, petroleum lubricating, re‐refining used
                    Petroleum lubricating oils made from refined petroleum
                    Re‐refining used petroleum lubricating oils
                    Rust arresting petroleum compounds made from refined petroleum
                    Transmission fluids, petroleum, made from refined petroleum
324199 ‐ All Other Petroleum and Coal Products Manufacturing
        This U.S. industry comprises establishments primarily engaged in manufacturing petroleum
        products (except asphalt paving, roofing, and saturated materials and lubricating oils and greases)
        from refined petroleum and coal products made in coke ovens not integrated with a steel mill.

                   Boulets (i.e., fuel bricks) made from refined petroleum
                   Briquettes, petroleum, made from refined petroleum
                   Calcining petroleum coke from refined petroleum

                    Coke oven products (e.g., coke, gases, tars) made in coke oven establishments
                    Fuel briquettes or boulets made from refined petroleum
                    Oil‐based additives made from refined petroleum
                    Petroleum jelly made from refined petroleum
                    Petroleum waxes made from refined petroleum
                    Road oils made from refined petroleum
                    Waxes, petroleum, made from refined petroleum
325110 ‐ Petrochemical Manufacturing
        This industry comprises establishments primarily engaged in (1) manufacturing acyclic (i.e.,
        aliphatic) hydrocarbons such as ethylene, propylene, and butylene made from refined petroleum
        or liquid hydrocarbon and/or (2) manufacturing cyclic aromatic hydrocarbons such as benzene,
        toluene, styrene, xylene, ethyl benzene, and cumene made from refined petroleum or liquid
        hydrocarbons.
                   Acyclic hydrocarbons (e.g., butene, ethylene, propene) (except acetylene) made from
                   refined petroleum or liquid hydrocarbons
                   Aliphatic (e.g., hydrocarbons) (except acetylene) made from refined petroleum or liquid
                   hydrocarbons
                   Benzene made from refined petroleum or liquid hydrocarbons
                   Butadiene made from refined petroleum or liquid hydrocarbons
                   Butane made from refined petroleum or liquid hydrocarbons
                   Butylene made from refined petroleum or liquid hydrocarbons
                   Cumene made from refined petroleum or liquid hydrocarbons

                   Cyclic aromatic hydrocarbons made from refined petroleum or liquid hydrocarbons
                   Dodecene made from refined petroleum or liquid hydrocarbons
                   Ethane made from refined petroleum or liquid hydrocarbons
                   Ethylbenzene made from refined petroleum or liquid hydrocarbons
                   Ethylene made from refined petroleum or liquid hydrocarbons
                   Heptanes made from refined petroleum or liquid hydrocarbons
                   Heptenes made from refined petroleum or liquid hydrocarbons
                   Isobutane made from refined petroleum or liquid hydrocarbons
                   Isobutene made from refined petroleum or liquid hydrocarbons
                   Isoprene made from refined petroleum or liquid hydrocarbons
                   Nonene made from refined petroleum or liquid hydrocarbons




                                                                                                              026700
 Case 2:10-md-02179-CJB-DPC Document 6430-35 Filed 05/03/12 Page 9 of 11



                    Olefins made from refined petroleum or liquid hydrocarbons
                    Paraffins made from refined petroleum or liquid hydrocarbons
                    Pentanes made from refined petroleum or liquid hydrocarbons
                    Pentenes made from refined petroleum or liquid hydrocarbons
                    Propylene made from refined petroleum or liquid hydrocarbons
                    Styrene made from refined petroleum or liquid hydrocarbons
                    Toluene made from refined petroleum or liquid hydrocarbons
                    Xylene made from refined petroleum or liquid hydrocarbons
325120 ‐ Industrial Gas Manufacturing
        This industry comprises establishments primarily engaged in manufacturing industrial organic and
        inorganic gases in compressed, liquid, and solid forms.
                    Acetylene manufacturing
                    Argon manufacturing
                    Carbon dioxide manufacturing
                    Chlorodifluoromethane manufacturing
                    Chlorofluorocarbon gases manufacturing
                    Compressed and liquefied industrial gas manufacturing
                    Dichlorodifluoromethane manufacturing
                    Dry ice (i.e., solid carbon dioxide) manufacturing
                    Fluorinated hydrocarbon gases manufacturing
                    Fluorocarbon gases manufacturing
                    Gases, industrial (i.e., compressed, liquefied, solid), manufacturing
                    Helium manufacturing
                    Helium recovery from natural gas
                    Hydrogen manufacturing
                    Ice, dry, manufacturing
                    Industrial gases manufacturing
                    Liquid air manufacturing
                    Monochlorodifluoromethane manufacturing
                    Neon manufacturing
                    Nitrogen manufacturing
                    Nitrous oxide manufacturing
                    Oxygen manufacturing
333132 ‐ Oil and Gas Field Machinery and Equipment Manufacturing
        This U.S. industry comprises establishments primarily engaged in (1) manufacturing oil and gas
        field machinery and equipment, such as oil and gas field drilling machinery and equipment; oil and
        gas field production machinery and equipment; and oil and gas field derricks and (2)
        manufacturing water well drilling machinery.
                    Bits, rock drill, oil and gas field‐type, manufacturing
                    Christmas tree assemblies, oil and gas field‐type, manufacturing
                    Derricks, oil and gas field‐type, manufacturing
                    Drilling equipment, oil and gas field‐type, manufacturing
                    Drilling rigs, oil and gas field‐type, manufacturing
                    Gas well machinery and equipment manufacturing
                    Oil and gas field‐type drilling machinery and equipment (except offshore floating
                    platforms) manufacturing
                    Rock drill bits, oil and gas field‐type, manufacturing
                    Water well drilling machinery manufacturing
                    Well logging equipment manufacturing
424710 ‐ Petroleum Bulk Stations and Terminals




                                                                                                             026701
Case 2:10-md-02179-CJB-DPC Document 6430-35 Filed 05/03/12 Page 10 of 11



        This industry comprises establishments with bulk liquid storage facilities primarily engaged in the
        merchant wholesale distribution of crude petroleum and petroleum products, including liquefied
        petroleum gas.
                   Bulk gasoline stations
                   Bulk stations, petroleum
                   Crude oil terminals
                   Fuel oil bulk stations and terminals
                   Gasoline bulk stations and terminals
                   Liquefied petroleum gas (LPG) bulk stations and terminals
                   Lubricating oils and greases bulk stations and terminals
                   Oil, petroleum, bulk stations and terminals
                   Petroleum and petroleum products bulk stations and terminals
                   Propane bulk stations and terminals
                   Terminals, petroleum
424720 ‐ Petroleum and Petroleum Products Merchant Wholesalers (except Bulk Stations and Terminals)
        This industry comprises establishments primarily engaged in the merchant wholesale distribution
        of petroleum and petroleum products (except from bulk liquid storage facilities).
                   Crude oil merchant wholesalers (except bulk stations, terminals)
                   Fuel oil merchant wholesalers (except bulk stations, terminals)
                   Fuel oil truck jobbers
                   Fueling aircraft (except on contract basis)
                   Gasoline merchant wholesalers (except bulk stations, terminals)

                    Liquefied petroleum gas (LPG) merchant wholesalers (except bulk stations, terminals)

                   Lubricating oils and greases merchant wholesalers (except bulk stations, terminals)
                   Oil, petroleum, merchant wholesalers (except bulk stations, terminals)
                   Petroleum and petroleum products merchant wholesalers (except bulk stations,
                   terminals)
486110 ‐ Pipeline Transportation of Crude Oil
        This industry comprises establishments primarily engaged in the pipeline transportation of crude
        oil.
                   Booster pumping station, crude oil transportation
                   Crude oil pipeline transportation
                   Petroleum pipelines, crude
                   Pipeline transportation, crude oil
486210 ‐ Pipeline Transportation of Natural Gas
        This industry comprises establishments primarily engaged in the pipeline transportation of natural
        gas from processing plants to local distribution systems.
                   Booster pumping station, natural gas transportation
                   Gas, natural, pipeline operation
                   Natural gas pipeline transportation

                   Natural gas transmission (i.e., processing plants to local distribution systems)
                   Pipeline transportation, natural gas
                   Storage of natural gas
                   Transmission of natural gas via pipeline (i.e., processing plants to local distribution
                   systems)
486910 ‐ Pipeline Transportation of Refined Petroleum Products




                                                                                                              026702
Case 2:10-md-02179-CJB-DPC Document 6430-35 Filed 05/03/12 Page 11 of 11



        This industry comprises establishments primarily engaged in the pipeline transportation of refined
        petroleum products.
                   Booster pumping station, refined petroleum products transportation
                   Gasoline pipeline transportation
                   Natural gas liquids pipeline transportation
                   Petroleum pipelines, refined
                   Pipeline transportation, gasoline and other refined petroleum products
                    Refined petroleum products pipeline transportation
486990 ‐ All Other Pipeline Transportation
        This industry comprises establishments primarily engaged in the pipeline transportation of
        products except crude oil, natural gas, and refined petroleum products.

                   Booster pumping station (except natural gas, petroleum)
                   Coal pipeline transportation

                   Pipeline transportation (except crude oil, natural gas, refined petroleum products)
                   Slurry pipeline transportation




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